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    13   [Additional Counsel Appear on Signature Page]
    14                             UNITED STATES DISTRICT COURT
    15                            CENTRAL DISTRICT OF CALIFORNIA
    16                                          WESTERN DIVISION
    17
         CENTAUR CLASSIC
    18   CONVERTIBLE ARBITRAGE FUND                      Case No. CV 10-05699-MRP
         LTD., et al.,                                   (MANx)
    19
                                  Plaintiffs,
    20
                            vs.                          STIPULATION OF DISMISSAL
    21                                                   WITH PREJUDICE
         COUNTRYWIDE FINANCIAL
    22
         CORPORATION, ANGELO R.
    23   MOZILO, DAVID SAMBOL, and ERIC
         P. SIERACKI,
    24
                                  Defendants.
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     1                STIPULATION OF DISMISSAL WITH PREJUDICE
     2         WHEREAS, Plaintiffs Centaur Classic Convertible Arbitrage Fund Ltd.;
     3   Argent Classic Convertible Arbitrage Fund II L.P.; Argent Lowlev Convertible
     4   Arbitrage Fund II LLC; Centaur Lowlev Arbitrage Fund Ltd.; Argentum Multi-
     5   Strategy Fund LLC; Argentum Multi-Strategy Fund, Ltd.; HFR CA Global Select
     6   Master Trust; Acuity Master Fund, Ltd.; Carlyle Multi-Strategy Master Fund
     7   Liquidating Trust; Lyxor/Acuity Fund Limited; Polygon Global Opportunities
     8   Master Fund; Rhapsody Fund, L.P.; Arpeggio Fund; Nuveen Multi-Strategy
     9   Income and Growth Fund; Nuveen Multi-Strategy Income and Growth Fund 2;
    10   Radcliffe SPC, Ltd.; Tempo Master Fund L.P.; Canyon Capital Arbitrage Master
    11   Fund, Ltd.; The Canyon Value Realization Fund (Cayman), Ltd; Canyon Value
    12   Realization Mac 18, Ltd., Canyon Value Realization Fund, L.P.; Lyxor/Canyon
    13   Capital Arbitrage Fund Limited; GLG Market Neutral Fund; Mohican VCA Master
    14   Fund, Ltd.; ADI Arbitrages Absolu; ADI Convert Absolu; ADI Convex; ADI
    15   Convex Absolu; Kallista CB Arbitrage Fund Limited; Casam ADI CB Arbitrage
    16   Limited; Delta Institutional, L.P.; Delta Onshore, L.P.; Delta Pleiades, L.P.; Delta
    17   Offshore Master, Ltd.; RHP Master Fund, Ltd.; HFR CA Lazard Rathmore Master
    18   Trust; Ramius Convertible Arbitrage Master Fund Ltd.; RCG PB, Ltd.; S.A.C.
    19   Arbitrage Fund, LLC; Stark Master Fund Ltd.; Sandelman Partners Multistrategy
    20   Master Fund Ltd.; Sandelman Partners Opportunity Master Fund L.P.; Camulos
    21   Master Fund L.P.; Concordia Partners L.P.; and Concordia Institutional Multi-
    22   Strategies Ltd. (collectively, “Plaintiffs”); and Defendants Countrywide Financial
    23   Corporation; Angelo R. Mozilo; David Sambol; and Eric P. Sieracki (collectively,
    24   “Defendants”), have agreed to resolve this matter amicably and dismiss it with
    25   prejudice and without the need for further litigation and expenditure of the parties’
    26   or the Court’s resources;
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     1           NOW, THEREFORE, THE PARTIES HEREBY STIPULATE AND
     2   AGREE as follows:
     3           Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
     4   plaintiffs hereby dismiss the above-captioned action with prejudice.       Plaintiffs
     5   further expressly waive any and all rights of appeal in the above-captioned action,
     6   and the parties further agree that each party shall bear its own costs and attorneys’
     7   fees.
     8
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     9                                         RYAN C. KIRKPATRICK
                                               SUSMAN GODFREY L.L.P.
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    11                                         ANDREW J. ENTWISTLE
                                               ARTHUR V. NEALON
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                                               JONATHAN H. BEEMER
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         Dated: January 17, 2012               By:   /s/ Marc M. Seltzer
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